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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


KYLIE WYMAN,

               Plaintiff,
                                                          File no: 1:20-cv-676
v.
                                                          HON. ROBERT J. JONKER
COMMISSIONER OF
SOCIAL SECURITY,

               Defendant.
                                /


                            ORDER APPROVING MAGISTRATE'S
                             REPORT AND RECOMMENDATION


        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties.

No objections have been filed under 28 U.S.C. § 636(b)(1)(C).

        NOW THEREFORE, the Report and Recommendation (ECF No.20) is hereby adopted as

the opinion of the Court.

        THEREFORE, IT IS ORDERED that:

        The decision of the Commissioner of Social Security is hereby VACATED and this matter

is REMANDED for further administrative action pursuant to sentence four of 42 U.S.C. § 405(g).




Date:   October 7, 2021                    /s/ Robert J. Jonker
                                           ROBERT J. JONKER
                                           CHIEF UNITED STATES DISTRICT JUDGE
